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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                     Case No.: 9:20-cv-81300-DMM

  SHEA DRYDEN,

          Plaintiff,

  vs.

  RAPID AUTO LOANS, LLC,

        Defendant.
  ___________________________________/

        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL CLAIMS

           Defendant, Rapid Auto Loans, LLC, and Plaintiff, Shea Dryden, stipulate to the

  dismissal of the instant action with prejudice and that each party hereto shall bear his/its own

  costs and attorneys’ fees incurred in connection herewith. The Court shall retain jurisdiction to

  enforce the parties’ settlement.


  /s/Douglas J. Jeffrey                               /s/David M. Marco
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  Dated: March 15, 2021                               Dated: March 15, 2021
